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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

  DIANA L. OBANDO,

          Plaintiff,

                                                      CASE NO.: 6:18-cv-00856-CEM-TBS
  vs.

  SBC FOOD SERVICE, INC.
  d.b.a CABANA BAR AND GRILL

        Defendant.
  ______________________________________/

   SETTLEMENT AGREEMENT AND RELEASE OF FAIR LABOR STANDARDS ACT
               AND FLORIDA COMMON LAW WAGE CLAIMS

          THIS SETTLEMENT AGREEMENT AND RELEASE OF FLSA CLAIMS

  (“Agreement”) is made this ____ day of December 2018, by and between DIANA L.

  OBANDO (“Plaintiff”) and Defendant SBC FOOD SERVICE, INC., d.b.a. CABANA BAR

  AND GRILL (“Defendant”).

          WHEREAS, Plaintiff filed the above-referenced case for unpaid overtime compensation

  and straight time pay which was allegedly due to her pursuant to the Fair Labor Standards Act of

  1938, 29 §201, et seq. (“FLSA”) and Florida common law (“Common Law”).

          WHEREAS, Defendant denies the relief sought and liability alleged by the claim asserted

  by the Plaintiff; and

          WHEREAS, Plaintiff and Defendant wish to avoid litigation and settle and resolve the

  controversy between them amicably and expeditiously;

          NOW, THEREFORE, in consideration of the mutual covenants set forth herein and other

  good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,

  it is hereby
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         STIPULATED AND AGREED by and between the undersigned parties that the above-

  styled case is hereby resolved as follows:

         1.      RECITALS. The foregoing recitals are true and correct and are incorporated

  herein by this reference.

         2.      RELEASE OF FLSA AND COMMON LAW CLAIMS.

                 a.      This Agreement shall constitute a waiver and release of all claims Plaintiff

         might have under the FLSA and Common Law against Defendant.

                 b.      Upon execution of this Agreement, the Parties shall immediately file the

         Joint Motion for Approval of Settlement with the Court attached hereto as Exhibit “A.”

                 c.      Plaintiff hereby knowingly and voluntarily release Defendant, its parents,

         predecessors, successors, assigns, subsidiaries, affiliates, and insurers, and their past and

         present directors, officers, shareholders, members, employees, agents, insurers and

         attorneys both individually and in their capacities as directors, officers, shareholders,

         members, employees, agents, insurers and attorneys (collectively “Releasees”) of and from

         any and all claims arising under the FLSA and Common Law against any of the Releasees

         which Plaintiff have or might have as of the date of execution of this Agreement.

         3.      CONSIDERATION.

                 a.      If (1) Plaintiff delivers to Defendant an executed copy of this Agreement

         and W-9 forms executed by Plaintiff and an executed W-9 form from Plaintiff’s counsel;

         and (2) the Court approves this Agreement and dismisses the case, with prejudice, then,

         Plaintiff shall receive from Defendant a total of Ten Thousand Five Hundred and 00/100

         Dollars ($10,500), in two installments due to Plaintiffs’ counsel’s Trust account as follows:
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                       i.          $7,500.00 made payable to Diana L. Obando for overtime

                compensation and straight wages allegedly due pursuant to the FLSA and Common

                Law for which separate IRS Forms 1099 shall issue to Diana L. Obando;

                      ii.          $3,000.00, made payable to Zandro E. Palma, P.A., as attorneys’

                fees and costs and for which separate IRS Forms 1099 shall issue to The Palma

                Law Group, See Commissioner of Internal Revenue v. Banks and Commissioner of

                Internal Revenue v. Banaitis, 543 U.S. 426 (2005) and U.S. Treasury Regulation

                1.6045-5.

                Plaintiff understands and acknowledges that she would not receive the payments

         specified in this paragraph, except for her execution of this Agreement, including the

         release of FLSA and Common Law claims contained herein, and her fulfillment of the

         promises contained herein.

                b.          Plaintiff agrees to pay federal or state taxes, if any, which are required by

         law to be paid with respect to this settlement. Moreover, Plaintiff agrees to indemnify

         Releasees and hold them harmless from any interest, taxes or penalties assessed against

         them by any governmental agency as a result of the non-payment of taxes on any amounts

         paid to Plaintiff, respectively, or their attorney under the terms of this Agreement.

         4.     NO ADMISSION. Neither this Agreement nor the furnishing of the consideration

  for this Agreement shall be deemed or construed at any time for any purpose as an admission by

  the Releasees of any liability, unlawful conduct of any kind or violation by the Releasees of the

  FLSA or Common Law.

         5.     OPPORTUNITY TO REVIEW.                     Plaintiff acknowledges she is aware that she

  is giving up all FLSA and Common Law claims she may have against the Releasees. Plaintiff

  acknowledges she has been advised in writing to consult with an attorney and has had the
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   opportunity to seek legal advice before executing this Agreement. In fact, Plaintiff acknowledges

   that she has consulted with her counsel-of-record, Zandro E. Palma, Esq., prior to executing this

   Agreement. Plaintiff signs this Agreement voluntarily.

          5.      WAIVER OF JURY TRIAL. Subject to the Court’s approval of this Agreement,

   Plaintiff and Defendant hereby knowingly, voluntarily, and intentionally waive any right to a jury

   trial with respect to the FLSA and Common Law claims asserted in the above-referenced case. If

   this Agreement is not approved, Defendant does not waive its right to a jury trial with respect the

   asserted FLSA and Common Law claims.

          6.      SEVERABILITY.         Except as set forth below, should any provision of this

   Agreement set forth herein be declared illegal or unenforceable by any court of competent

   jurisdiction, such that it cannot be modified to be enforceable, excluding the release language and

   the payment obligations set forth in section 3 above, such provision shall immediately become null

   and void, leaving the remainder of this Agreement in full force and effect.

          7.      VENUE AND GOVERNING LAW. This Agreement shall be governed by the

   laws of the State of Florida without regard to its conflict of laws provisions. In the event of any

   action arising hereunder, venue shall be proper in the United States District Court in and for the

   Middle District of Florida.

          8.      ENTIRE AGREEMENT AS TO FLSA AND COMMON LAW CLAIMS.

   This Agreement sets forth the entire agreement between Plaintiff and Defendant as to settlement

   of the Plaintiffs FLSA claims. Plaintiff acknowledges she has not relied on any representations,

   promises, or agreements of any kind made to her in connection with his decision to sign this

   Agreement, except those set forth in this Agreement.

          9.      AMENDMENTS.           This Agreement may not be amended, modified, altered, or

   changed, except by a written agreement which is both signed by all parties and which makes
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   specific reference to this Agreement.

                   10.    THE SIGNATORIES HAVE CAREFULLY READ THIS ENTIRE

    SETTLEMENT AGREEMENT AND RELEASE OF FLSA AND COMMON LAW

    CLAIMS.      THE     PLAINTIFF         HAS   BEEN   REPRESENTED   BY   COUNSEL

    THROUGHOUT THE NEGOTIATION OF THIS AGREEMENT AND HAS

    CONSULTED WITH HER ATTORNEY BEFORE SIGNING THIS AGREEMENT.

    THE PARTIES FULLY UNDERSTAND THE FINAL AND BINDING EFFECT OF

    THIS AGREEMENT. THE ONLY PROMISES OR REPRESENTATIONS MADE TO

    ANY SIGNATORY ABOUT THIS AGREEMENT ARE CONTAINED IN THIS

    AGREEMENT.           HAVING ELECTED TO EXECUTE THIS SETTLEMENT

    AGREEMENT AND RELEASE OF FLSA AND COMMON LAW CLAIMS, TO

    FULFILL THE PROMISES SET FORTH HEREIN, AND TO RECEIVE THEREBY

    THE SETTLEMENT SUM AND BENEFITS SET FORTH IN PARAGRAPH 3 ABOVE,

    PLAINTIFF FREELY AND KNOWINGLY AND AFTER DUE CONSIDERATION,

    ENTERS INTO THIS SETTLEMENT AGREEMENT AND RELEASE OF FLSA AND

    COMMON LAW CLAIMS INTENDING TO WAIVE, SETTLE AND RELEASE ALL

    FLSA AND COMMON LAW CLAIMS SHE HAS OR MIGHT HAVE AGAINST

    RELEASEES.

                   THE PARTIES ARE SIGNING THIS AGREEMENT VOLUNTARILY

    AND KNOWINGLY.
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